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VIA CM/ECF

July 29, 2024

Patricia S. Dodszuweit
Clerk of Court
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

        RE: Public Interest Legal Foundation, Inc. v. Schmidt, Nos. 23-1590
            and 23-1591 (3d Cir.)

Dear Ms. Dodszuweit,

      Pursuant to Federal Rule of Appellate Procedure 28(j), Plaintiff-
Appellee/Cross-Appellant Public Interest Legal Foundation (“Foundation”) hereby
responds to the Commonwealth’s Rule 28(j) letter concerning FDA v. Alliance for
Hippocratic Medicine, 602 U.S. 367 (2024) (“Alliance”).

       In Alliance, the organizational plaintiffs did not have standing because they
had only “legal, moral, ideological, and policy objections to mifepristone being
prescribed and used by others” id. at 386 (emphasis in original), rather than
injuries sufficiently caused by the FDA’s conduct, id. at 394. With respect to the
plaintiff’s allegedly “incurring costs to oppose FDA’s actions,” the Supreme Court
explained, “[A]n organization that has not suffered a concrete injury caused by a
defendant’s action cannot spend its way into standing simply by expending money
to gather information and advocate against the defendant’s action.” Id. at 394.

       On the other hand, the Supreme Court explained that an organizational
plaintiff would have standing where the defendant “directly affected and interfered


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with [the plaintiff’s] core business activities.” Id. at 395 (citing Havens Realty
Corp. v. Coleman, 455 U.S. 363, 379 (1982)).

       The Foundation does not rely on the type of injuries pleaded in Alliance. The
Foundation alleges an informational injury that caused multiple adverse
consequences. See Doc. 36 at 20-30. In Alliance, the Supreme Court was careful to
distinguish informational injuries from the injuries the medical association
plaintiffs alleged: “[T]he associations have not claimed an informational injury,
and in any event the associations have not suggested that federal law requires FDA
to disseminate such information upon request by members of the public.” Alliance,
602 U.S. at 395-96 (citing Federal Election Comm’n v. Akins, 524 U. S. 11
(1998)). In other words, Alliance says nothing about the Foundation’s
informational injuries and changes nothing about the Foundation’s standing. Even
so, the Foundation alleges the type of direct interference with business activities
that Alliance and Havens Realty deem sufficient for standing purposes, Alliance,
602 U.S. at 395. Doc. 36 at 20-30.

                                        Sincerely,

                                          /s/ Noel H. Johnson
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                                        Appellant




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